Case 4:20-cv-00957-SDJ Document 337-2 Filed 04/05/24 Page 1 of 8 PageID #: 9366



                                     UNITED STATE DISTRICT COURT
                                                for the
                                      Southern District of New York

  State of Texas, et al.                           §         Civil Action 1:21-cv-06841-PKC
  Plaintiff                                        §
                                                   §
                                                   §
  V.                                               §
                                                   §
  Google LLC                                       §
  Defendant                                        §


  RESPONSE OF TEXAS DEPARTMENT OF MOTOR VEHICLES TO SUBPOENA TO PRODUCE DOCUMENTS,
      INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

                                 The Texas Department of Motor Vehicles

               c/o General Counsel, Laura Moriaty, Esp., 4000 Jackson Ave., Austin, TX 78731



 Requests for Documents:

 1. Documents and data sufficient to show the (i) Impressions that You Purchased; (ii)
    Attributed Clicks for such Impressions; (iii) Attributed Conversions for such
    Impressions; (iv) Attributed Sales for such Impressions; (v) gross amount You paid for
    such Impressions; (vi) total fees paid to all Ad Tech Providers (net of any discounts or
    rebates received) for such Impressions; (vii) Your return on investment for such
    Impressions; (viii) Your return on advertising spend for such Impressions; and (ix) the
    name of the Agency (if any) involved in Purchasing such Impressions - all aggregated (at
    a monthly level for each month since January 1, 2013) separately for each unique
    combination of the following parameters:
            a. Publisher of the Inventory on which the Impressions were displayed;

             b. Property on which the Impressions were displayed;

             c. Ad Buying Tool (if any) through which the Impressions were Purchased;

             d. Ad Exchange, Ad Network, or Ad Selling Tool through which the Impressions were
                Purchased;

             e. Transation Type though which the Impressions were Purchased;

             f. Environment in which the Impressions were displayed;

             g. Format of the Impressions;
Case 4:20-cv-00957-SDJ Document 337-2 Filed 04/05/24 Page 2 of 8 PageID #: 9367




                h. Whether or not the Impression was part of a Remarketing Campaign;

                i.   Cost Type that was specified for purchasing the Impressions;

                j.   Account ID; and

                k. Campaign ID associated with the Impressions.

 An example of a sufficient response to this request is attached as Exhibit B. Data and
 documents produced in response to this Request shall be limited to information pertaining
 to transactions taking place in the United States. For any data and documents which You are
 unable to restrict by geography (for example, the geography is ambiguous or unknown),
 such data and documents shall be treated as responsive to this Request.

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.

 2. Documents sufficient to show for each Campaign ID identified in response to
    Request No. l(k), the goals and objectives of that Campaign. Subject to those objections
    please see the documents produced.

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 3. Documents sufficient to show how You calculate or assess return on advertising
    spend, return on investment, and other Campaign objectives (such as views, Clicks,
    downloads, conversions, actions, etc.).

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 4. Documents reflecting Your costs, profits, return on investment, return on
    advertising spend, and revenue associated with Your purchase of Display Advertising via
    or by:
           a. Direct Transactions or Indirect Transactions;

           b.        Programmatic or non-Programmatic Transactions;

           c.        an Agency or on Your own account;
Case 4:20-cv-00957-SDJ Document 337-2 Filed 04/05/24 Page 3 of 8 PageID #: 9368




          d.   an Ad Exchange or an Ad Network;

          e.   a Private Auction or marketplace;

          f.   each Environment;

          g.   each Format; and

          h.   each Publisher or Property or type of Publisher or Property (such as
               social media and retail media).

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 5. Documents reflecting how Your costs, profits, return on investment, return on
    advertising spend, and revenue are impacted by purchasing Display Advertising via or
    by:
         a. Direct Transactions or Indirect Transactions;

          b. Programmatic or non-Programmatic Transactions;

          c. an Agency or on Your own account;

          d. an Ad Exchange or an Ad Network;

          e. a Private Auction or marketplace;

          f.   each Environment;

          g. each Format; and

         h. each Publisher or Property or type of Publisher or Property (such as social media and retail
        media)

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity
 Subject to these objections, please see the documents produced.


 6. Documents reflecting Your consideration of the relative costs and benefits of Display
    Advertising compared to other forms of advertising (such as Search Advertising, Linear
    or Connected Television advertising, email, print, or radio advertising).
Case 4:20-cv-00957-SDJ Document 337-2 Filed 04/05/24 Page 4 of 8 PageID #: 9369



 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity
 Subject to these objections, please see the documents produced.


 7. All documents concerning Clicks, Impressions, conversions, return on advertising
    spend, or return on investment for Display Advertising that You received from any Ad
    Tech Provider, including any breakdowns by Transaction Type.

 RESPONSE:


 8. Documents reflecting Your strategic plans, executive presentations, and financial
    statements concerning Display Advertising.

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity
 Subject to these objections, please see the documents produced.


 9. Documents reflecting how and why You set, monitor, and adjust Your Display
    Advertising spend, including documents reflecting (i) how You measure Display
    Advertising effectiveness; and (ii) how much of Your total advertising budget is allocated
    to Display Advertising.

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity
 Subject to these objections, please see the documents produced.


 10. Documents reflecting how You attribute conversions and any analyses of
     attribution (including internal and commissioned analyses purchased from an Agency,
     vendor, or consultant).

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity
 Subject to these objections, please see the documents produced.


 11. Documents reflecting how and why You shift Your advertising spend across various
     forms of advertising (such as Display Advertising, Search Advertising, Linear or
     Connected Television Advertising, email, print, or radio advertising).

 RESPONSE:
Case 4:20-cv-00957-SDJ Document 337-2 Filed 04/05/24 Page 5 of 8 PageID #: 9370



 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 12. Documents reflecting how and why You shift Your advertising spend across various Ad
     Tech Providers or Ad Tech Products, including In-House Ad Tech Products.

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 13. Documents reflecting how and why You shift Your Display Advertising spend among
     Formats, between Direct and Indirect Transactions, among Environments, among social
     media and non-social media Properties, and between Inventory Purchases using
     Agencies and not using Agencies.

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 14. Documents reflecting Your consideration, evaluation, or comparison of Ad Tech
     Providers or Ad Tech Products (including In-House Ad Tech Products), and their
     Features, effectiveness, and pricing.

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 15. Documents sufficient to show which Ad Tech Products You have used during the
     Relevant Period.

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 16. Documents reflecting Your actual or considered switching from one Ad Tech Product to
     another Ad Tech Product, including Your reasons for switching (or not doing so), the
     costs of switching, and the actual or potential impact of switching on Your return on
     advertising spend.
Case 4:20-cv-00957-SDJ Document 337-2 Filed 04/05/24 Page 6 of 8 PageID #: 9371




 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 17. Documents reflecting contracts or agreements related to Ad Tech, Ad Tech Providers or
     Display Advertising, including those related to Direct Transactions (and if no contract is
     available for a Direct Transaction, documents sufficient to show the date, parties, and
     material terms of the Direct Transaction).

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 18. Documents reflecting Your contracts or agreements with each Agency You have used
     for Display Advertising, including documents reflecting the services each Agency
     provides and how each Agency has been compensated for its services.

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 19. All documents concerning any formal or informal governmental investigation
     concerning Google's Display Advertising or Google's Ad Tech Products, including
     all communications involving You and any governmental agency and all documents that
     You provided to any governmental agency.

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 20. All documents concerning the effect of the availability or use of User identifiers or proxy
     identifiers (including but not limited to, for example, Apple Identifier for Advertisers
     (IDFA), Android AdID, Third-Party Cookies, and logged-in account) or other User tracking
     mechanisms on Your Display Advertising strategy or the cost effectiveness of Your
     Display Advertising.

 RESPONSE:
Case 4:20-cv-00957-SDJ Document 337-2 Filed 04/05/24 Page 7 of 8 PageID #: 9372



 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 21. Documents sufficient to show whether, why, and for what purposes You use multiple
     Ad Buying Tools to purchase Display Advertising, including documents discussing
     whether You use multiple Ad Buying Tools to place Bids for the same type of Inventory,
     whether You use different Ad Buying Tools to place Bids for different types of Inventory,
     and the types of Inventory and/or Impressions for which You use multiple Ad Buying
     Tools.

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 22. All documents concerning the impact of Header Bidding on Your Display Advertising
     strategy or the cost effectiveness of Your Display Advertising.

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 23. Documents sufficient to show factors that influence Your choice of Bidding strategies
     (such as, for example, whether the auction is first- or second-priced, expected Floor
     Price, manual or automated Bid optimization strategies, and available post-auction
     report information) and the effect of Your Bidding strategies on Your return on
     investment or return on advertising spend.

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents produced.


 24. Documents reflecting the impact of Ad Blocking Tools on Your Display Advertising
     strategy or the effectiveness thereof.

 RESPONSE:
 The Texas Department of Motor Vehicles objects to the requests being overly broad and
 unduly burdensome. The TxDMV further objects on the grounds of sovereign immunity.
 Subject to these objections, please see the documents provided.
Case 4:20-cv-00957-SDJ Document 337-2 Filed 04/05/24 Page 8 of 8 PageID #: 9373
